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December 13, 2019

Mr. Michael R. Caputo Leaye to file GRANTED
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Amy B.Jatkson Date IZ/ol(

The Honorable Amy Berman Jackson United States District Judge
United States District Court for

the District of Columbla 2 —T ORT ~
E. Barrett Prettyman US Courthouse Fu‘ As Lewek ro THE CO

333 Constitution Avenue, NW

Washington, D.C. 20001 } q -CR- 018 (p62)

Dear Judge Jackson:

| am writing to respectfully request that you lift the court order which forbids Roger J.
Stone, Jr. from communicating with me. With his trial complete and the verdict in, |am
hoping you see clear to allow Mr. Stone and | to regonnect.

On January 29, 2019, as | awaited Mr. Stone outside his Ft. Lauderdale, Florida
arralgnment, his attorney Grant Smith called to notify me that Roger was no longer
permitted to communicate with me. Mr, Smith did not explain this to me, but pledged to
explain it to my attorney. Mr. Stone and { have not communicated since that day, almost
one year ago.

Mr. Stone and | have been close friends since 1986. We work together, we dine
together, our familles share holidays together. | still do not fully understand why this
order was entered - | was never a witness in his case and | had never testified before the
grand jury - but | respected your order. Even as | attended his recent trlal, we did not
communicate. Mr. Stone has been especially obedient In thls matter and | do not wish to
disrupt hls commitment to staying within the letter and spirit of your order.

But It's Christmas, Judge, and our family wants to spend time with his. | also want his
wife and children to know they can count on us to assist them through this very difficult .
time, and that we'll always be there to help them. | want them to know this now.

Mr. Stone's trial is over, the verdict is In and he awalts your sentencing on February 6,
2020. As this day approaches, and with the hollday season imminent, | am writing to ask

to see Roger and his famlly again soon. During this season of giving, | hope you see fit
to give our families this gift.

Thank you for your time and attention to this matter,

 
